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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                              __________     of Columbia
                                                          District of __________


                      Michael J. Lindell                       )
                             Plaintiff                         )
                                v.                             )      Case No.     1:21-cv-02296-CJN
                  US Dominion, Inc., et al.                    )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation Limited                      .


Date:          10/07/2021                                                                /s/ J. Erik Connolly
                                                                                         Attorney’s signature


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